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Case 4:19-cr-02738-RM-JR Document 27

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District of Arizona

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,
Plaintiff,
vs.
Jan Peter Meister,
aka Peter Meister,
Defendant.

 

 

 

THE GRAND JURY CHARGES:

CR 19-02738-TUC-RM (JR)

SUPERSEDING
INDICTMENT

VIOLATIONS:

18 U.S.C. 875(c
(Threats Throu
Count 1

18 U.S.C. 922(2)(1) and 924(a)(2
Unlawful re Penalties X2)
ount

18 U.S.C. 924(d),

Interstate Commerce)

21 U.S.C. § 853, and
28 U.S.C. § 2461(c)
(Forfeiture Allegation)

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COUNT 1
On or about October 1, 2019 at or near Tucson, in the District of Arizona, JAN

PETER MEISTER, knowingly transmitted in interstate commerce, with intent to threaten,

a communication, that is, a message left on the Washington District Office Voicemail

system of Congressman A.S., containing a threat to injure the person of another, to wit:

 

 
 

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“Yeah, go fuck your mother, you son of a bitch cause I’m gonna fucking blow your brains
out you fucking piece of shit mother, fucker, you’re a fucking piece of shit. You fucking
piece of shit mother fucker. Yeah watch. I’m gonna fuck your asshole you piece of shit son
of a bitch. Yeah come get me. I guarantee III fuck your brains out.”
In violation of Title 18, United States Code, Section 875(c).
COUNT 2
From a time unknown to October 18, 2019, in the District of Arizona, defendant,
JAN PETER MEISTER, did possess, in and affecting interstate commerce, firearms and
ammunition, that is:
e American Tactical, model: Omni Hybrid Maxx, 5.56/.223 caliber rifle, Serial
Number NS118649;
e Taurus, model: Spectrum .380 caliber pistol, Serial Number 1F077114;
e Hi-Point, model: C9, 9mm caliber pistol, Serial Number P1901261;
e Approximately 166 rounds of 9mm ammunition;
e Approximately 244 rounds of .380 caliber ammunition; and
e Approximately 401 rounds of 5.56/.223 caliber ammunition.
Defendant knowingly possessed the firearms and ammunition, knowing that he had been
convicted of a crime punishable by a term of imprisonment exceeding one year.
In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).
FORFEITURE ALLEGATION
Upon conviction of Count Two of the Superseding Indictment, the defendant, JAN
PETER MEISTER, shall forfeit to the United States pursuant to Title 18, United States
Code, Section 924(d), Title 21, United States Code, Section 853, and Title 28, United States
Code, Section 2461(c), any firearms and ammunition involved in the commission of the
offense, including, but not limited to:
1) American Tactical, model: Omni Hybrid Maxx, 5.56/.223 caliber rifle, Serial
Number NS118649;
2) Taurus, model: Spectrum .380 caliber pistol, Serial Number 1F077114;

United States of America v. Jan Peter Meister
Indictment Page 2 of 3

 

 
 

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3) Hi-Point, model: C9, 9mm caliber pistol, Serial Number P1901261;

4) Approximately 166 rounds of 9mm ammunition;

5) Approximately 244 rounds of .380 caliber ammunition; and

6) Approximately 401 rounds of 5.56/.223 caliber ammunition.

If any of the property described above, as a result of any act or omission of the
defendant: a) cannot be located upon the exercise of due diligence; b) has been transferred
or sold to, or deposited with, a third party; c) has been placed beyond the jurisdiction of
the court; d) has been substantially diminished in value; or e) has been commingled with
other property which cannot be divided without difficulty, it is the intent of the United
States, pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title
28, United States Code, Section 2461(c), to seek forfeiture of any other property of said
defendant up to the value of the above forfeitable property, including, but not limited to,
all property, both real and personal, owned by the defendant.

All pursuant to Title 18, United States Code, Section 924(d), Title 21, United States
Code, Section 853, Title 28, United States Code, Section 2461(c), and Rule 32.2(a),

Federal Rules of Criminal Procedure.

A TRUE BILL
/s/

FOREPERSON OF THE GRAND JURY
Dated: December 4, 2019

MICHAEL BAILEY pu TR pore ete og
United States Attorney
District of Arizona

/s/

NICOLE P. SAVEL
BEVERLY K. ANDERSON
Assistant United States Attorneys

United States of America v. Jan Peter Meister
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